






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00642-CR






Roberto Lopez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. D-1-DC-03-204137, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Roberto Lopez seeks to appeal from a judgment of conviction for murder.  The trial
court has certified that this is a plea bargain case and Lopez has no right of appeal.  See Tex. R. App.
P. 25.2(a)(2).  In addition, the pro se notice of appeal was not timely filed.  The appeal is dismissed. 
See id. rule 25.2(d).



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   November 3, 2006

Do Not Publish


